Case 11-17348-elf   Doc 24    Filed 11/15/17 Entered 11/16/17 10:40:18         Desc Main
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  ##the#")he case is REOPENED to permit the Debtor to file the

  reaffirmation agreement that he entered into prior to the entry of the discharge

  order. Upon the filing of the reaffirmation agreement, the Clerk shall RE-CLOSE the

  case. If the reaffirmation agreement has not been filed as of January 19, 2017, the

  Clerk shall RE-CLOSE the case.




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                                      ERIC L. FRANK
                                      CHIEF U.S. BANKRUPTCY JUDGE
